                     Case 2:19-cr-00107-KJM  Document
                                  IN THE UNITED STATES 49 Filed 06/19/19
                                                       DISTRICT  COURT Page 1 of 1
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,                 CASE NO.: 2:19-cr-00107-KJM

                        v.

WILLIAM SYLVESTER,

                               Defendant.

                        APPLICATION FOR WRIT OF HABEAS CORPUS (AMENDED)
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
 Name of Detainee:      William Sylvester, CDCR No. H71192
 Detained at            California State Prison, Sacramento
 Detainee is:           a.)     ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                   charging detainee with: RICO Conspiracy, conspiracy to murder, and drug
                                                              trafficking crimes.
                  or    b.)     ☐ a witness not otherwise available by ordinary process of the Court

 Detainee will:         a.)       ☐ return to the custody of detaining facility upon termination of the guilty plea hearing
                  or    b.)       ☒ be retained in federal custody until final disposition of federal charges and federal
                                    prison sentence, if any, has been served.

                                   As soon as practicable in the Eastern District of California.

                        Signature:                                /s/ Jason Hitt
                        Printed Name & Phone No:                  Assistant U.S. Attorney Jason Hitt – 916-554-2700
                        Attorney of Record for:                   United States of America

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal’s Service
for this district, is hereby ORDERED to produce the named detainee, as soon as practicable, for arraignment on the
Indictment and prosecution in the above-captioned case in the Eastern District of California.


 Dated:    June 19, 2019
                                                              Honorable Allison Claire
                                                              U.S. MAGISTRATE JUDGE

Please provide the following, if known:
 AKA(s)                  Billy from Norco                                                 ☒Male      ☐Female
 Offender ID:            CDCR No. H71192                                                  Race:      Caucasian
 Facility Address:       100 Prison Road, Represa, California 95671
 Facility Phone:         (916) 985-8610
 Currently               In custody of the State of California

                                                   RETURN OF SERVICE
 Executed on:
                                                              (signature)
